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                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                              )
                                                       )               8:05CR259
                        Plaintiff,                     )
                                                       )
         vs.                                           )                ORDER
                                                       )
CORY JAMES SHIFFLETT,                                  )
AARON LEE KUNTZ and                                    )
ROBERT L. PRIME, III,                                  )
                                                       )
                        Defendants.                    )
         This matter is before the court on the motions for an extension of time by defendants Cory
James Shifflett (Filing No. 32) and Robert L. Prime, III (Prime) (Filing No. 33). Both defendants seek
an extension of time to file pretrial motions pursuant to paragraph 3 of the progression order.
Defense counsel represent to the court that counsel for the government has no objection to the
extension. Prime has submitted an affidavit in accordance with paragraph 9 of the progression
order whereby Prime consents to the motion and acknowledges he understands the additional time
may be excludable time for the purposes of the Speedy Trial Act (Filing No. 34). Counsel for Shifflett
represents that Shifflett consents to the motion and the exclusion of time under the Speedy Trial Act
and will be filing such an affidavit upon receipt. Upon consideration, the motions will be granted to
the extent set forth below.
        IT IS ORDERED:
         1.     Defendant Shifflett's and Prime's motions for an extension of time (Filing Nos. 32 and
33) are granted. All defendants in this case are given until on or before September 9, 2005,
in which to file pretrial motions pursuant to the progression order. The ends of justice have been
served by granting such motions and outweigh the interests of the public and the defendants in a
speedy trial. The additional time arising as a result of the granting of the motions, i.e., the time
between August 22, 2005 and September 9, 2005, shall be deemed excludable time in any
computation of time under the requirement of the Speedy Trial Act for the reason defendants'
counsel require additional time to adequately prepare the case, taking into consideration due
diligence of counsel, and the novelty and complexity of this case. The failure to grant additional time
might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).
        2.      The tentative setting of an evidentiary hearing for 1:30 p.m. on August 26, 2005, is
canceled and will be re-scheduled in the event any pretrial motions are filed in accordance with this
order.
         DATED this 22nd day of August, 2005.
                                                       BY THE COURT:
                                                       s/Thomas D. Thalken
                                                       United States Magistrate Judge
